






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00794-CV






The Debt Registry, Inc., Appellant


v.


Dennis C. Moroney, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 126TH JUDICIAL DISTRICT

NO. GN201777, HONORABLE SCOTT H. JENKINS, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



	Appellant The Debt Registry, Inc. has filed a motion to dismiss its appeal, informing
this Court that the parties have compromised and settled all matters between them and appellant no
longer desires to pursue its appeal.  We grant appellant's motion and dismiss the appeal.  See Tex.
R. App. P. 42.1(a)(1).



						__________________________________________

						W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices B. A. Smith and Puryear

Filed:   July 11, 2003

Dismissed on Appellant's Motion


